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                                        IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF MARYLAND

 WILLIAM GARFIELD BILBROUGH IV                                              *

FTC Oklahoma City

 7410 S. MACARTHUR BLVD                                                     *         Criminal Case No.: 8:20-cr-00033
 OKLAHOMA CITY, OK 73169

 BOP #65230-037; DOB                                                        *         Civil Case No.:
(Full name, date of birth, identification #, address of movant)                                            (Leave blank. To be filled in by Court.)
      v.

United States of America                                                    *

                     MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE


1. Name and location of the court which entered the judgment/conviction being challenged.

       U.S. District Court for the District of Maryland - Greenbelt Division

2. Date of judgment or sentencing.
        12/10/2020 - date of judgment

3. Length of sentence.
       60 months' incarceration, 3 years of supervised release
                                                            Count 1: conspiracy to transport certain aliens, 8 USC 1324(a)(1)(a)(v)(i)
4. Nature of offense (all counts). Count 2: transporting certain aliens, 8 USC 1324(a)(1)(a)(ii)&(a)(1)(a)(v)(ii)
       Count 3: conspiracy to transport and harbor certain aliens, 8 USC 1324(a)(1)(a)(v)(i)
       Count 4: transporting certain aliens, 8 USC 1324(a)(1)(a)(ii)&(a)(1)(a)(v)(ii)
        Count 5: harboring certain aliens, 8 USC 1324(a)(1)(a)(iii)&(a)(1)(a)(v)(ii)
5. What was your plea? (check one)

      (a) Not Guilty
      (b) Guilty                  x
      (c) Nolo Contendere
      If you entered different pleas to different counts or charges, explain.


      Pleaded guilty to Counts 1 & 2; Counts 3-5 were dismissed.


6. Kind of trial (check one). N/A

      (a) Jury
      (b) Judge Only

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7. Did you testify at the trial?            N/A

      Yes                       No

8. Did you appeal from the judgment of conviction?

      Yes                       No      x


      If you answered yes, provide the following information:

      A. What grounds did you raise?

           N/A




      B. What was the result?
           N/A


      C. What was the date of the decision by the Court of Appeals?

          N/A


9. Did you file a petition for writ of certiorari to the United States Supreme Court?

      Yes                       No      x


      If you answered yes, what was the result?

         N/A
      If you answered yes, what was the date of the decision by the Supreme Court?

         N/A


10. Other than a direct appeal, have you filed any petitions, applications, or motions challenging
    this judgment in any federal court?

      Yes                       No      x




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11. If you answered yes, provide the following information for each petition, application, or
    motion:

      A. Name and location of the court where you filed.

           N/A

      B. Describe what you filed and the date on which it was filed.

           N/A

      C. What grounds did you raise?

           N/A




      D. What was the result?

           N/A


      E. What was the date of the decision?
            N/A


      F. Did you appeal the decision?    N/A

      Yes                       No

      G. What was the result?

            N/A




      H. If you did not appeal any adverse decision, explain why you did not appeal.

             N/A




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12. Do you CURRENTLY HAVE PENDING in any court any motion, petition, or appeal
    concerning the judgment being challenged in this petition?

      Yes                       No      x

      If you answered yes, describe what you filed, when, where, and its current status.

            N/A




13. In most cases federal law requires that a motion to vacate or set aside judgment be filed
    within one (1) year of the date your conviction became final. 28 U.S.C. § 2255. If this
    motion is being filed more than one year after your conviction became final, explain why it is
    late and/or why you believe the one year limitations period does not apply.

        Since the movant did not appeal the original conviction, the judgment became final when
        the time during which he could have appealed expires (14 days after entry of judgment).
        Thus, the instant 2255 motion is raised within the one-year statute of limitations as
        contained in 28 U.S.C. § 2255.
14. State BRIEFLY every ground on which you claim you are being held unlawfully. BRIEFLY
    summarize the facts supporting each ground. If necessary, you may attach additional pages.

      A. Ground One: Ineffective Assistance of Counsel

             Supporting Facts: Former counsel was ineffective for failing to sufficiently advise Movant relating to
       his decision to enter into the plea agreement, especially the the consequences of the upward departure contained
       therein; and Movant felt pushed to accept the plea. It prejudiced Movant because, due to the upward departure, he
       was sentenced to 60 months which was approximately twice of the applicable Guidelines range; contrary to his
       rights to Due Process and Sixth Amendment to the U.S. Constitution. Had trial counsel properly advised Movant
       in this regard, he would not have taken the plea offer. Former counsel was also ineffective for filing a motion for
       immediate sentencing, which prejudiced Movant by depriving any meaningful opportunity to obtain, review, and
       object to a Pre-Sentence Report and to filing other sentencing submissions.
      B. Ground Two: The sentence was imposed in violation of Movant's Due Process rights.

             Supporting Facts: The sentencing court did not make sufficient findings in support of the sentence imposed,

      especially sufficient findings to justify the significant upward departure under U.S.S.G. 2L1.1 Application Note 7,

      in violation of Movant's constitutional rights to Due Process under the Fifth Amendment to the U.S. Constitution.




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      C. Ground Three:

             Supporting Facts:




      D. Ground Four:

             Supporting Facts:




15. If any of the issues that you are raising in this motion have not been previously presented,
    explain which issues are being raised for the first time and why.

       Ground One: the claim in Ground One is more appropriately raised in a 2255 motion.

       Ground Two: the right to appeal sentence was waived pursuant to the Plea Agreement.




16. Do you have any other sentence(s) to be served after you complete the sentence/commitment
    that is being challenged in this petition?

      Yes                       No      x

      If you answered yes, provide the following information about each of your future sentences:

      A. Name and location of the court that imposed the sentence.

            N/A

      B. Length of the sentence. N/A

      C. Have you filed, or do you intend to file, a petition or motion attacking this sentence?

      Yes                       No      x




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       WHEREFORE, Movant prays that the Court grant him/her all relief to which he/she
may be entitled in this action. Movant pays that the Court vacate his conviction and sentence .

       I declare under the penalties of perjury that the information above is true and correct.


       SIGNED THIS        27th day of December                            , 2021    .



                                                     Signature              Pro Hac Vice Counsel
                                                      Carolyn Elefant MDD Bar #26862
                                                     Printed Name


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                                                                          * Ga. Bar
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                                                      *Pro hac vice motion pending
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(Full name, date of birth, identification #, address of movant)                            (Leave blank. To be filled in by Court.)
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United States of America                                          *

                                                        CERTIFICATE OF SERVICE


             I hereby certify that on December 27                                                   , 2021                            ,
 a copy of the foregoing Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255
with the District of Maryland via the CM/ECF system which will automatically serve a copy via email
on all concerned parties.




                                                                      Signature

                                                                        Carolyn Elefant
                                                                      Printed Name


                                                                       7315 Wisconsin Ave., Bethesda, MD 20814
                                                                      Address

                                                                        202-297-6100
                                                                      Telephone Number

                                                                        carolyn@carolynelefant.com
                                                                      Email Address




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